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                           IN THE UNITED STATES DISTRICT COURT
                              NORTHERN DISTRICT OF ILLINOIS
                                     EASTERN DIVISION

EDUARDO ANDRE ELY,

       Plaintiff,                                                 Case No.: 1:25-cv-03990

v.                                                                Judge Jorge L. Alonso

THE PARTNERSHIPS AND UNINCORPORATED                              Magistrate Judge Jeffrey Cole
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

                     NO.                          DEFENDANT
                       1                           youliyoumian
                       2                         DangHongBuRang
                       5                             BLAUUU
                       6                              Gfirefiy
                       7                           TTPALACE
                       9                              AMELA
                      10                            POD MENS
                      12                            clothinshop
                      15                           BABE TWO
                      17                              whqhus
                      19                             AKQWA
                      22                         V Trend Clothing
                      23                              Zsquare
                      25                            MLord Men
                      27                        A Haifs men clothing
                      28                             Oubo MD
                      29                             HOOCCC
                      30                           UrbansVogue
                      31                           Zephyr Trend
                      33                             TTTCASE
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              34                        Mona D Clothing
              35                      MEET Fashion Shop
              37            Standardsized charming womens clothing
              40                       FASHION DAYS
              43                          WUZHIPEI
              44                         XinDongZheng
              46                           ZhuZhong
              48                        Huajin Clothing
              49                         Fabric Dreams
              52                            LUCK
              58                            SNOmall
              60                           EIGHT
              67                           FDC Style
              70                             Pix Art
              71                              SuTra
              73                      Alpha Male TShirts
              74                       New Dapper Dude
              75                             Lovetee
              77                       Casual Crew Tees
              78                       Closet Wonderland
              80                           Qyongkai
              81                         Classic Patriot
              82                              SIX
              83                             THTEE
              86                           man seven
              88                          CHS Online
              90                           JUSTHIS
              91                            TEEBUS
              92                        Giant mens Shop
              93                           DarrenTee
              94                           LOVmall
              95                       QLMY Accessory
              96                        Suave Stylistics
             104                            CCCFA
             105                   fashionable Garment Shop
             109                          HYUGTHJF
             110                           TEEEmall
             114                            NANHH
             117                     CUSTOMTRENDING
             121                        Caathe Clothing
             124                             OEQC
             128                          HAOZITshirt
             130                          SylvanStyles
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                131                     Immediately Fashion
                132                  Choose what you love umi
                133                            Yimuf
                134                         Desu Cowan
                135                        MI CHEN fast
                137                         FCCCSHOP
                140                            Tremdy
                141                       Strength Courage
                142                           MIAAIM
                143                         Bright Justice
                144                      Wardrobe Wonders
                146                      Tomorrow Courage
                147                            Eiiwaa
                148                      Stylish Gentlemen
                149                          King Male
                152                        ONETWOOO
                154                           TarotTee
                156                  Superior Beauty Local local
                159                         AAPHGBFE
                161                          ROBUSTT
                164                    Linda Trendy clothings
                167                           BKTEES
                168                     Happy leisure time B



DATED: May 29, 2025                        Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
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                                           Chicago, Illinois 60604
                                           Telephone: 312-971-6752
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE


        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on May 29, 2025 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
